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                  EXHIBIT B-116
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                   IN THE SUPERIOR COURT OF FULTON COUNTY
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                                     STATE OF GEORGIA                               DEPl:l'F'f
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INRE:                                         )
SPECIAL PURPOSE GRAND JURY                    )      2022-EX-000024
                                              )
Witness:                                      )      Judge Robert C. I. McBurney
Newton Leroy Gingrich                         )


     PETITION FOR CERTIFICATION OF NEED FOR TESTIMONY BEFORE
    SPECIAL PURPOSE GRAND JURY PURSUANT TO THE UNIFORM ACT TO
   SECURE THE ATTENDANCE OF WITNESSES FROM WITHOUT THE STATE,
     CODIFIED IN THE STATE OF GEORGIA AS O.C.G.A. § 24-13-90 ET SEQ.

       COMES NOW the State of Georgia, by and through Fani T. Willis, District Attorney,

Atlanta Judicial Circuit, Fulton County, Georgia, and petitions this Honorable Court for a

Certificate of Need for Testimony Before Special Purpose Grand Jury, pursuant to O.C.G.A. §

24-13-92 et seq., and in support thereof says as follows:

       1. A Special Purpose Grand Jury investigation commenced in Fulton County, Georgia,

           by order of this court on May 2, 2022. See Order Impaneling Special Purpose Grand

           Jury Pursuant to O.C.G.A. § 15-12-100, Et Seq, "Exhibit A". The Special Purpose

           Grand Jury is authorized to investigate any and all facts and circumstances relating

           directly or indirectly to possible attempts to disrupt the lawful administration of the

           2020 elections in the State of Georgia. See Letter Requesting Special Purpose Grand

           Jury, "Exhibit B".

       2 .. While Georgia law authorizes special purpose grand juries to conduct both civil and

           criminal investigations, the Special Purpose Grand Jury's investigation is criminal in

           nature in that it was requested for the purpose of investigating criminal disruptions
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           related to the 2020 elections in Georgia, and the Special Purpose: Grand Jury is
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   authorized to make recommendations concerning criminal pros~cution. Further, the
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   authority for a special purpose grand jury to conduct a criminal investigation has been

   upheld by the Supreme Court of Georgia. See State v. Lampl, 296 Ga. 892 (2015).

   Accordingly, the provisions of the Uniform Act to Secure the Attendance of

   Witnesses from Without the State apply pursuant to O.C.G.A. § 24-13-92 et seq.

3. Newton Leroy Gingrich, born June 17, 1943, (hereinafter, "the Witness") is a

   necessary and material witness to the Special Purpose Grand Jury's investigation.

   Through both its investigation and through publicly available information, the State

   has learned the following information.

4. According to information made publicly available by the United States House of

   Representatives Select Committee to Investigate the January 6th Attack on the United

   States Capitol, the Witness was involved, along with others known to be associated

   with the Trump Campaign, in a plan to air television advertisements that "repeated

   and relied upon false claims about fraud in the 2020 election" and "encouraged

   members of the public to contact their state officials and pressure them to challenge

   and overturn the results of the election" based on these false claims. These television

   advertisements were purportedly aired in the days leading up to December 14, 2020,

   when both legitimate and, in several states, non-legitimate electors met to cast

   electoral college votes, and they were purportedly personally approved by former

   President Donald Trump.

5. According to information made publicly available by the United States House of

   Representatives Select Committee to Investigate the January 6th Attack on the United
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   States Capitol, on or about December 8, 2020, the Witness urged the Trump
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   Campaign "to air advertisements promoting the false narrative that election workers
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   had smuggled suitcases containing fake ballots at the State Farni Arena in Atlanta,
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   Georgia."

6. According to information made publicly available by the United States House of

   Representatives Select Committee to Investigate the January 6thAttack on the United

   States Capitol, on or about December 8, 2020, the Witness wrote an e-mail to

   individuals known to be associated with the Trump Campaign, stating "The goal is to

   arouse the country's anger through new verifiable information the American people

   have never seen before[.] ... Ifwe inform the American people in a way they find

   convincing and it arouses their anger[,] they will then bring pressure on legislatures

   and governors."

7. According to information made publicly available by the United States House of

   Representatives Select Committee to Investigate the January 6th Attack on the United

   States Capitol, the Witness was also involved in the plan to have Republican electors

   meet and cast electoral college votes in Georgia and other states where President

   Joseph Biden had been declared the winner of the 2020 election. On or about

   November 12, 2020, the Witness reportedly wrote an e-mail to former White House

   Chief of Staff Mark Meadows and former White House Counsel Pat Cipollone,

   stating "Is someone in charge of coordinating all the electors? [Randy] Evans makes

   the point that all the contested electors must meet on [D]ecember 14 and send in

   ballots to force contests which the house would have to settle."·

8. The Witness, based on his involvement with individuals knoJ             to be associated with

   the Trump Campaign, is a necessary and material witness. The Witness possesses
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                                                                         I
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   unique knowledge concerning the circumstances surrounding public television
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   advertisements relying on false claims of election fraud, the meetings of Republican

   electors in various states on December 14, 2020, and communidations between

   himself, the Trump Campaign, and other known and unknown individuals involved in

   the multi-state, coordinated efforts to influence the results of the November 2020

   election in Georgia and elsewhere. Finally, the Witness's anticipated testimony is

   essential in that it is likely to reveal additional sources of information regarding the

   subject of this investigation.

9. The testimony of the Witness will not be cumulative of any other evidence in this

   matter.

10. The Witness resides outside the jurisdiction of this Honorable Court and is therefore

   unable to be served with process to compel attendance and testimony.

11. The Witness currently resides in McClean, Fairfax County, Virginia.

12. The Witness will be required to be in attendance and testify before the Special

   Purpose Grand Jury on Wednesday, November 16, 2022, at 9:00 a.m. The District

   Attorney reasonably anticipates that the Witness's testimony will not exceed one day.

13. The Office of the Fulton County District Attorney, in and for the State of Georgia,

   will pay all reasonable and necessary travel expenses and witness fees required to

   secure the Witness's attendance and testimony, in accordance with the Uniform Act

   to Secure the Attendance of Witnesses from Without a State in Criminal Proceedings.

   See O.C.G.A. §24-13-90 et seq.
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14. If the Witness comes into the State of Georgia pursuant to this request, directing the

   Witness to attend and testify before the Special Purpose Grand!Jury, the laws of this
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           State shall give the Witness protection from arrest and from selce      of civil or
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           criminal process, both within this State and in any other state t~ough which the
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           Witness may be required to pass in the ordinary course of travel, for any matters

           which arose before the Witness's entrance into this State and other states.

       15. Both Georgia and Virginia have adopted the Uniform Act to Secure the Attendance of

           Witnesses from Without a State in Criminal Proceedings. See O.C.G.A. § 24-13-90;

           Va. Code Ann.§ 19.2-282 et seq.

       WHEREFORE, the State of Georgia, by and through Fani T. Willis, District Attorney,

Atlanta Judicial Circuit, Fulton County, Georgia, prays that this Honorable Court issue a

Certificate of Need for Testimony Before Special Purpose Grand Jury, pursuant to O.C.G.A. § 24-

13-92 et seq., certifying to the proper authorities in the jurisdiction in which the Witness is located

that the Witness is a necessary and material witness whose attendance and testimony is required

for the above-referenced Special Purpose Grand Jury investigation, and the presence of the

Witness will be needed for the number of days specified above,

       Respectfully submitted this the 7th day of October, 2022,

                                                       FANI T. WILLIS
                                                       DISTRICT ATTORNEY
                                                       ATLANTA JUDICIAL CIRCUIT




                                                         lanta Judicial Circuit
                                                       136 Pryor Street Southwest
                                                       Third Floor           :
                                                       Atlanta, Georgia 30303
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                    Exhibit A
    Case 1:23-cv-03721-SCJ Document 1-127 Filed 08/21/23 Page 8 of 12
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                   IN THE SUPEJRIOR COURT OF FULTON COUNTiY°
                           ATiLANTAJUD!CIALCIRCUIT      .•··1._;·)ri _Civ r-,f..l ,[)                           .,~'
                               STATE OF GEORGIA        .~t..,;,L,.t... vf\ t.,UVv~                                     •
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IN RE: REQUEST FOR                                                  ~j              'JAN211         . _;
       SPECIAL PURJPOSE                                              r:.l:
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        GRA.NDJURY
                                                                   L..                  FULT~-~~~-0;" GA

               ORDER APPROVffiGREQUEST FOR SPECIALPURPOSE
               GRAND JURY PURSUANT TO O.C.G.A. &15-12-100,et sea.

     •. The District Attorney for the Atlanta Judicial Circuit submitted to the judges of the

Superior Court of Fulton County a request to impanel a special purpose jury for the purposes set

forth in that request. This request was considered and approved by a majority of the total

number of the judges of this Court, as required by O.C.G.A. §15-12-IO0(b).

      : IT [S THEREFORE ORDERED that a special purpose grand jury be drawn and

impaneled to serve as provided in O.C.G.A. § 15-12-62.l, 15-12-67, and 15-12-100, to

commence on May 2, 2022, and continuing for a,period not to exceed 12 months. Such period

shall not include any time periods when the supervising judge dete1mines that the special

purpose grand jury cannot meet for safety or other reasons, or any time periods when normal

court operationsare suspended by orderof the Supreme Court of Georgia or the ChiefJudgeof

the Superior Court. The special purpose grand jury shall be authorized to investigate any and all

facts and circumstances relating directly or indirectly to alleged violations of the laws of the

State of Georgia, as set forth in the request of the District Attorney referenced herein above.

       .Pursuant to O.C.G.A. § 15-12-10l(a), the Honorable Robert C. I. McBurney is hereby

assign9dto supervise and assist the special purpose grand jmy, and shall charge said special

purpose grand jury and receive its reports as provided by law.
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        This authorization shall include the investigation of any overt acts or predicate acts
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relating to the subject of the special purpose grand jury's investigative purp9se. The special

purpose grand jury; when making its presentments and reports, pursuant to O.C.G.A. §§ 15-12-

71 and 15-12-101, may make recommendationsconcerning criminal prosecution as it shall see

•fit. Furthermore, the provisions of 0.C.G.A. § 15-12-83shall apply.

        This Court also notes that the appointment of a special purpose grand jury will permit the

 time, efforts, and attention of the regular grandjury(ies) impaneled in tlns Circuit to continue to

 be devoted to the consideration of the backlog of c1iminalmatters that has accumulated as a

 result of the COVID-19 Pandemic.




                                CHRISTOPRER S. BRASHER;@UEF WDGE
                                Superior Court of Fulton County
                                Atlanta Judicial Circuit
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                    Exhibit B
           Case 1:23-cv-03721-SCJ Document 1-127 Filed 08/21/23 Page 11 of 12
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                       OFFICE OF THE FULTONCOUN1YDISTRICTATTORNEY
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                                                 CIRCUIT                          I
                                 136PRYORSTREETSW,3RDFLOOR    !
                                    ATLANTA,GEORGIA.
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%ni    Y,6)/{!it,j                                            TELEPHONE404-6i2-4639
DistrictAttorney


                                                                                tD'L'l·- EX- DODD/1
      The Honorable Christopher S. Brasher
      Chief Judge, Fulton County Superior Court                                       FILED IN OFFICE
      Fulton County Courthouse                                                                            J) ,
      185 Central Avenue SW; Suite T-8905
      Atlanta, Georgia 30303                                                    •1 DE
                                                                                ,____F_U~N   COUN1Y, GA

      January 20, 2022

      Dear Chief Judge Brasher:

      I hope this letter finds you well and in good spirits. Please be advised that the District Attorney's
      Office has received information indicating a reasonable probability that the State of Georgia's
      administration of elections in 2020, including the State's election of the President of the United
      States, was subject to possible criminal disruptions. Our office has also learned that individuals
      associated with these disruptions have contacted other agencies empowered to investigate this
      matter, including the Georgia Secretary of State, the Georgia Attorney General, and the United
      States Attorney's Office for the Northern District of Georgia, leaving this office as the sole
      agency with jurisdiction that is not a potential witness to conduct related to the matter. As a
      result, our office has opened an investigation into any coordinated attempts to unlawfully alter
      the outcome of the 2020 elections in this state.

      We have made efforts to interview multiple witnesses and gather evidence, and a significant
      number of witnesses and prospective witnesses have refused to cooperate with the investigation
      absent a subpoena requiring their testimony. By way of example, Georgia Secretary of State
      Brad Raffensperger, an essential witness to the investigation, has indicated that he will not
      participate in an interview or otherwise offer evidence until he is presented with a subpoena by
      my office. Please see Exhibit A, attached ta this letter.

      Therefote, I am hereby requesting, as the elected District Attorney for Fulton County, pursuant
      to O.C.G.A.§ 15-12-100et. seq.,that a special purposegrandjury be impaneledfor the pui-pose
      of investigating the facts and circumstances relating directiy or indirectly to possible attempts to
      disrupt the lawful administration of the 2020 elections in the State of Georgia. Specifically, a
      special pmpase grand jury, which will not have the authority ta return an indictment but may
      make recommendations concerning criminal prosecution as it shall see fit, i~ needed for three
      reasons: first, a special purpose grand jury can be impaneled by the Court fJr any time period
      required in order to accomplish its investigation, which will likely exceed a normal grand jury
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      term; second, the special purpose grand jury would be empowered to review this matter and this
      matter only, with an investigatory focus appropriate to the complexity of tb.e facts and
      circumstances involved; and third, the sitting grandjury would not be required to attempt to
      address this matter in addition to theirnormalduties.

      Additionally, I am requesting that, pursuant to O.C.G.A. § 15-12-101, a Fulton County Superior
      Court Judge be assigned to assist and supervise the special purpose grand jury in carrying out its
      investigation and duties.

      I have attached a proposed order impaneling the special purpose grand jury for the consideration
      of the Court.

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    --J:iistrictAttorney, Atlanta Judicial Circuit

      ExhibitA: Transcript of October 31, 2021 episode of 1'1Ieet
                                                               the Press on NBC News at 26:04
      (video archived at https://www.youtube.com/watch?v=B7lcBRPgt9k)
      ExhibitB: Proposed Order

      cc:
      The Honorable K.ii-nberly
                              M. Esmond Adams
      The Honorable Jane C. Barwick
      The Honorable Rachelle Camesdale
      The Honorable Thomas A. Cox, Jr.
      The Honorable Eric Dunaway
      The Honorable Charles M. Eaton, Jr.
      The Honorable Belinda E. Edwards
      The Honorable Kelly Lee Ellerbe
      The Honorable Kevin M. Fanner
      The Honorable Ural Glanville
      The Honorable Shakura L. Ingram
      The Honorable Rachel R. Krause
      The Honorable Melynee Leftridge
      TheHonorableRobertC.I.1VIcBumey
      The Honorable Henry M. Newkirk
      The Hon~rable Emily K. Richardson
      The Honorable Craig L. Schwall, Sr.
      The Honorable Paige Reese Whitaker
      The Honorable Shennela J. \Villiams
      Fulton County Clerk of Superior Court Cathelene ,:Tina" Robinson
